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                                     UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION


        DAN BUNKERING (AMERICA) INC.                    §
                                                        §
                   Plaintiff,                           §
                                                        §
                                                        §
                                                        §
        V.                                              §      CIVIL ACTION NO.: 4:20-cv-00321
                                                        §      IN ADMIRALTY, Rule 9(h)(C)
                                                        §
        SWIBER MARINE MEXICO, S.A. DE                   §
        C.V., RANGER OFFSHORE, INC.,                    §
        IN PERSONAM                                     §
        AND M/V SWIBER ADA IN REM                       §
                                                        §
                   Defendants.                          §

                    DAN BUNKERING (AMERICA) INC.’S UNOPPOSED MOTION FOR ISSUANCE OF
                          REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                        (LETTER ROGATORY)

                   Plaintiff Dan Bunkering (America) Inc. (“Dan Bunkering”), files this Unopposed Motion

        for Issuance of Request For International Judicial Assistance (Letter Rogatory) (the “Motion”),

        and would show the Court as follows:

                   1.      On June 9, 2020, Dan Bunkering filed a Verified Amended Complaint in this court.

        Due to the COVID-19 pandemic, the Central Authority of Mexico, Ministry of Foreign Affairs,

        entity designated by the Hague Convention on the service of judicial documents, and the and local

        courts, were closed or operating with a skeleton staff. Upon information and belief, the Central

        Authority of Mexico, Ministry of Foreign Affairs, and the local courts have partially resumed its

        operations.

                   2.      Dan Bunkering files this Motion to request the court to authorize issuance of the

        Letter of Rogatory attached herein as “Exhibit A” to effectuate service of the Summons and


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        Verified Amended Complaint upon Swiber Marine de Mexico S.A. de C.V. (“Swiber”). Swiber’s

        principal place of business is Corporativo Antara I, Av Ejército Nacional 843 B, Granada, Miguel

        Hidalgo, 11520 Ciudad de México, CDMX, Mexico. Federal Rule of Civil Procedure 4(e)(1)

        authorizes service “by any internationally agreed means of service that is reasonably calculated to

        give notice, such as those authorized by the Hague Convention on the Service Abroad of Judicial

        and Extrajudicial Documents.” Mexico is a party to the Hague Convention of 15 November 1965

        on the Service Abroad of Judicial and Extra Judicial Documents in Civil and Commercial Matters.

        For the foregoing reasons, Dan Bunkering files this Motion for issuance of the Letter of Rogatory

        attached herein as “Exhibit A”, and, for such other relief in which Dan Bunkering is entitled to at

        law and equity.

                                                               Respectfully submitted,

                                                               FOLEY GARDERE
                                                               FOLEY & LARDNER LLP

                                                               By: /s/ Anacarolina Estaba
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                                                               ATTORNEYS FOR PLAINTIFF,
                                                               DAN BUNKERING (AMERICA) INC.

                                            CERTIFICATE OF SERVICE

        I certify that on October 8, 2020 a copy of the forgoing was electronically filed on the CM/ECF
        system.


                                      /s/ Anacarolina Estaba
                                      Anacarolina Estaba



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